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 8                                    UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        Case No. 1:16-cr-00122-DAD-BAM-6
12                       Plaintiff,
13           v.                                       ORDER GRANTING GOVERNMENT’S
                                                      REQUEST TO FILE MENTAL
14   RAFAEL DELATORRE,                                COMPETENCY EVALUATION UNDER
                                                      SEAL
15                       Defendant.
16

17           The court has reviewed and considered the government’s request for an order sealing a

18   document (Doc. 180) in this case. Good cause appearing, the defendant’s mental competency

19   evaluation prepared by Dr. Susan Napolitano, Ph.D., shall be filed under seal shall be filed under

20   seal until further order of the court.

21   IT IS SO ORDERED.
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         Dated:     October 11, 2017
23                                                       UNITED STATES DISTRICT JUDGE

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